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                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )
                                              )
MATTHEW DULIN,                                ) CASE NO. 4:19-CR-00171-1-RSB-CLR
                                              )
                       Defendant.             )


                                              ORDER



       The Defendant, Matthew Dulin, through Counsel, filed a Motion to Modify Conditions of

Pretrial Release on November 12, 2019 (doc. 84), to allow him to seek employment, unrelated to

the field of pharmacy, during the pendency of his criminal case. The government’s position (doc.

87), was to leave the decision in the “sound discretion of the Court.” The Court, having considered

Defendant’s motion and the government’s response, hereby GRANTS the Motion to Modify

Conditions of Pretrial Release. The Defendant shall be permitted to seek and secure employment,

consistent with the Court’s previous order setting conditions of release. Doc. 70. Employment

that is undertaken shall first be approved by Pretrial Services.


       SO ORDERED this 26th day of November, 2019.




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                                              CHRISTOPHER
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                                                 R STOPPHE
                                                        H R L. RAY
                                              UNITED STATES S MAGISTRATE JUDGE
                                              SOUTHERN DISTRICT OF GEORGIA
